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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY
                                    :
RAYMOND LANKFORD, ET AL
                                    :
                  Plaintiff (s)           Civil Action No. 04-2636(JBS)
                                    :
            v.
                                    :
                                          ORDER OF DISMISSAL
                                    :
F. ALBERT IRBY, ET AL
                  Defendant (s)     :

                                              :

       It having been reported to the Court that the above-captioned action has been settled;

       IT IS on this 3RD day of FEBRUARY, 2006,

       ORDERED THAT:

               (1) This action is hereby DISMISSED without costs and without prejudice to the

right, upon motion and good cause shown, within 60 days, to reopen this action if the settlement

is not consummated; and

               (2) If any party shall move to set aside this Order of Dismissal as provided in the

above paragraph or pursuant to the provisions of Fed. R. Civ. P. 60(b), in deciding such motion

the Court retains jurisdiction of the matter to the extent necessary to enforce the terms and

conditions of any settlement entered into between the parties.


                                                     s/ JEROME B. SIMANDLE
                                                     UNITED STATES DISTRICT JUDGE


Hon. Jerome B. Simandle, USDJ
Hon. Ann M. Donio, USMJ
